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                      UNITED STATES COURT OF INTERNATIONAL TRADE


 AMSTED RAIL COMPANY, INC. and
 ASF-K DE MEXICO S. DE R.L. DE C.V.,

                 Plaintiffs,

     v.

 U.S. DEPARTMENT OF COMMERCE and                          Case No. 22-cv-00316
 U.S. SECRETARY OF COMMERCE GINA
 M. RAIMONDO, in her official capacity,                   PUBLIC VERSION

                 Defendants,

                            VERIFIED COMPLAINT OR, IN THE
                      ALTERNATIVE, PETITION FOR WRIT OF MANDAMUS

          Plaintiffs Amsted Rail Company, Inc. (“ARC”) and ASF-K de Mexico S. de R.L. de C.V.

(“ASF-K”) (“Plaintiffs”), by and through their respective attorneys, bring this action against

defendants, the U.S. Department of Commerce (“Department”) and its Secretary, Gina M.

Raimondo, for injunctive and declaratory relief:

          (i)        Directing the Department to disqualify the law firm of xxxxxxxxxxxx
                     xxxxxxxxxxxxxxxxxxxxx (“Firm”) from further participation in an
                     ongoing set of antidumping and countervailing duty investigations, Certain
                     Freight Rail Couplers and Parts Thereof from China and Mexico, DOC Inv.
                     Nos. A-570-145, A-201-857, C-570-146 (“Current Investigations”);

          (ii)       Directing the Department to rescind the Firm’s authorization to receive
                     Plaintiffs’ business proprietary information (“BPI”) submitted under the
                     Administrative Protective Order (“APO”) in the Current Investigations; and

          (iii)      Directing the Department to terminate the Current Investigations under the
                     Department’s sanctions authority and/or dismiss the underlying
                     antidumping and countervailing duty petitions.

          Plaintiffs allege and state as follows:




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                                         I.      Jurisdiction
        1.       This Court has subject-matter jurisdiction over this matter under 28 U.S.C. §§

1581(i)(1) and 1585. See Makita Corp. v. United States, 17 C.I.T. 240, 245 & n.6, 819 F.Supp.

1099, 1103-04 & n.6 (1993) (under § 1581(i), “[t]his is a forum which has jurisdiction over”

matters “regarding actual or potential breaches of conflict of interest” in antidumping and

countervailing duty investigations); SNR Roulements v. United States, 13 C.I.T. 1, 4, 704 F. Supp.

1103, 1107 (1989) (where Department “allows the release of confidential information under a

protective order . . . this Court’s jurisdiction to review that action is based on 28 U.S.C. § 1581(i)”);

Hyundai Pipe Co. v. U.S. Dep’t of Commerce, 11 C.I.T. 238, 240, 242 (1987) (although

“Commerce has the responsibility to police its protective orders . . . [n]evertheless, this court has

jurisdiction” pursuant to 28 U.S.C. § 1581(i) to forbid BPI release).

        2.       In addition, this Court “has plenary authority and responsibility to supervise

professional conduct” over any attorney who is “a member of the Bar of this Court of International

Trade.” Makita, 17 C.I.T. at 245; see also Retamal v. U.S. Customs & Border Protection, 439 F.3d

1372, 1376 (Fed. Cir. 2006) (although the Court of International Trade “lacked jurisdiction over

the merits” of a case, under “its inherent power,” it nonetheless “has the authority to discipline

attorneys appearing before it”). This is because “regulation of attorney behavior is an inherent

power of any court of law.” In re Bailey, 182 F.3d 860, 864 (Fed. Cir. 1999).

        3.       In the alternative, the Court can and, if need be, should treat this Verified Complaint

as a petition for writ of mandamus under 28 U.S.C. §§ 1361, 1585, 1651, and 2643. Under the

latter statute, with certain exceptions inapplicable here, the Court of International Trade may

“order any other form of relief that is appropriate in a civil action, including, but not limited to,

declaratory judgments, orders of remand, injunctions, and writs of mandamus and prohibition.” 28

U.S.C. § 2643(c)(1).

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                                II.     Timeliness Of The Action

       4.       An action under 28 U.S.C. § 1581(i) must be commenced within two years after

the cause of action first accrues. 28 U.S.C. § 2636(i).

       5.       As it concerns the ethical violation alleged herein, as described in further detail

below, the cause of action in this matter accrued on September 28, 2022, when the petition in the

Current Investigations was filed.

       6.       As it concerns BPI access, as described in further detail below, the cause of action

in this matter accrued on October 18, 2022, when the Department informed Plaintiffs, via a letter

from Erin Bagnal, Director of AD/CVD Operations (Enforcement and Compliance), that the

Department would not make a determination as to whether the Firm should be disqualified from

further participation in the Current Investigations.

       7.       In the same letter, the Department also informed Plaintiffs that it would not (a)

timely rescind access to Plaintiffs’ BPI in the Current Investigations for attorneys that have

breached their ethical obligations and violated the APO issued in Certain Freight Rail Coupler

Systems and Components from China, DOC Inv. Nos. A-570-143, C-570-144 (“Predecessor

Investigations”); or (b) timely terminate the Current Investigations under the Department’s

sanctions authority and/or dismiss the underlying antidumping and countervailing duty petitions.




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                                          III.    Parties

       8.       Plaintiff ARC is a U.S. producer of freight rail coupler systems and components

thereof (“FRCs”), which include E, F, and E/F couplers and E and F knuckles. ARC is also a U.S.

importer of FRCs subject to the Current Investigations. Plaintiff ARC imports and sells the subject

merchandise produced by ASF-K and therefore would be liable for any resulting antidumping

duties assessed on its imports.

       9.       Plaintiff ASF-K is ARC’s affiliated maquiladora that produces freight rail couples

and knuckles in Mexico subject to the Current Investigations. On information and belief, ASF-K

is the only producer of FRCs in Mexico.

       10.      Defendant U.S. Department of Commerce is conducting the Current Investigations

and is responsible for fulfilling a range of trade-related mandates.

       11.      Defendant Gina M. Raimondo, sued in her official capacity, is the Secretary of the

U.S. Department of Commerce.

                                         IV.     Standing

       12.      Plaintiffs have standing to sue because they are “adversely affected or aggrieved by

agency action within the meaning of” the Administrative Procedure Act (“APA”), 5 U.S.C. § 551

et seq. See 5 U.S.C. § 702; 28 U.S.C. § 2631(i) (“Any civil action of which the Court of

International Trade has jurisdiction . . . may be commenced in the court by any person adversely

affected or aggrieved by agency action within the meaning of Section 702 of title 5.”); 28 U.S.C.

§ 2640(d) (“In any civil action not specified in this section, the Court of International Trade shall

review the matter as provided in section 706 of title 5.”).




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        13.    As discussed further below, the Firm’s continued participation in the Current

Investigation under a disabling conflict of interest adversely affects and aggrieves Plaintiffs, who

should not be subject to trade investigations tainted by the Firm’s ethical violations.

        14.    In addition, the Department’s decisions regarding the Firm’s access to Plaintiffs’

BPI—despite the fact that counsel for the petitioner in the Current Investigations breached their

ethical obligations and may have violated an APO in the substantially related Predecessor

Investigations—adversely affects and aggrieves Plaintiffs because of the continuing risk that those

attorneys may misuse or reveal sensitive BPI of the Plaintiffs.

                        V.      Facts Common To All Claims For Relief

                                 The Predecessor Investigations

        15.    On June 17, 2021, ARC engaged the law firm of Wiley Rein LLP (“Wiley”) “to

provide legal services in connection with advice regarding the elevation and potential prosecution

of antidumping of imports of certain couplings and related rail products.”

        16.    ARC and Wiley formalized this engagement in a letter expressly naming ARC as

the client.

        17.    A Wiley partner, xxxxxxxxxxxxxxx (“Attorney”), executed the engagement letter

on the firm’s behalf. On information and belief, the Attorney is a member of the Bar of this Court,

as well as being a member of the Bar of the District of Columbia.

        18.    The engagement letter elaborated on the representation’s “purpose”:

               The purpose of this representation is to evaluate and pursue as
               appropriate a trade remedy investigation, specifically including any
               antidumping and/or countervailing duty proceeding filed on behalf
               of the domestic manufacturing industry, including any petition filed
               with the U.S. Department of Commerce and the U.S. International
               Trade Commission, and any subsequent litigation, as well as other
               litigation and lobbying services related to this investigation.



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       19.     The engagement letter contained an advance waiver of potential future conflicts.

By its terms, the advance waiver extends only to Wiley itself—not the Attorney or others. The

advance waiver also expressly excludes “matters that are substantially related to our work for you”:

               As a large firm with a diverse practice, we represent many other
               companies and individuals. It is possible that during the time that we
               are representing you, some of our present or future clients will have
               disputes or transactions with you, or undertake activities that may,
               directly or indirectly, conflict with your activities and interests. For
               example, we may represent other participants in your industry and
               competing industries—as well as their suppliers, customers, and
               trade associations. Moreover, we maintain a multidisciplinary
               practice that includes, but is not limited to, the following practice
               areas: Appellate, Consumer Product Regulation, Corporate,
               Election Law & Government Ethics, Employment & Labor,
               Environment & Safety, Food Drug & Medical Device Law,
               Franchise, FTC Regulation, Government Contracts, Health Care,
               Insurance, Intellectual Property, International Trade, Litigation,
               Privacy & Cybersecurity, Public Policy, Telecom, Media &
               Technology (TMT), and White Collar Defense & Government
               Investigations, all of which are described on our firm’s website.
               Notwithstanding our firm’s representation of clients across a broad
               range of practice areas, you agree, except as to matters that are
               substantially related to our work for you, that we may continue to
               represent or may undertake in the future to represent existing or new
               clients in any matter, including litigation, even if the interests of
               such clients in those other matters are directly adverse to your own.
               For our part, upon becoming aware of the need, the firm agrees to
               take reasonable steps to establish and maintain an ethical “screen”
               designed to provide assurance that firm attorneys who have worked
               for you or continue to work for you will not, inadvertently or
               otherwise, share confidential information provided by you with
               others.

               In a trade remedy investigation, we typical [sic] represent several
               members of the domestic industry that may have interests adverse
               to other members of any petitioning coalition with respect to future
               trade or commercial matters. As a result, the domestic producers
               could be adverse to each other in an antidumping investigation, trade
               investigation, or other matter. You agree that nothing contained in
               this representation, including the sharing of information and
               documents, shall be the basis of a claim of conflict of interest or
               disqualification against Wiley Rein. Specifically, you agree to waive
               all current or future conflicts with Wiley Rein with respect to

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               antidumping, countervailing duty, or other trade investigations and
               will not seek disqualification of Wiley Rein in regard to, or on the
               basis of, any antidumping, countervailing duty, or other trade
               remedy investigation.

       20.     Through the Attorney, on September 29, 2021, the Coalition filed its petition with

the Department and the U.S. International Trade Commission (“Commission”), commencing the

Predecessor Investigations.

       21.     At the time, the Coalition was composed of two constituent members: ARC and

M&T, a domestic producer of FRCs.

       22.     The petition principally alleged that certain FRCs imported from China were being

subsidized by the Government of China within the meaning of section 701 of the Tariff Act of

1930, codified as amended at 19 U.S.C. § 1671 (“Tariff Act”), and were being or were likely to be

sold at less than normal value within the meaning of section 731 of the Tariff Act, codified as

amended at 19 U.S.C. § 1673, and these unfairly traded imports materially injured the domestic

industry producing FRCs.

       23.     The period of investigation at the Department for the antidumping investigation

was January 1, 2021 through June 30, 2021. Freight Rail Coupler Systems and Certain

Components Thereof From the People’s Republic of China, 87 Fed. Reg. 14,511, 14,511 (Mar. 15,

2021) (preliminary antidumping determination). For the countervailing duty investigation, the

period of investigation was January 1, 2020, through December 31, 2020. Freight Rail Coupler

Systems and Components Thereof from the People’s Republic of China, 87 Fed. Reg. 12,662,

12,662 (Mar. 7, 2022) (preliminary countervailing duty determination). The period of investigation

at the Commission was 2019 through 2021, with the record remaining open until June 8, 2022.

Freight Rail Coupler Systems and Components from China, USITC Inv. Nos. 701-TA-670 & 731-

TA-1570 (Final), USITC Pub. 5331 (July 2022), at 3.

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       24.     On October 6, 2021, ARC, again through the Attorney, filed a letter in the

Predecessor Investigations withdrawing from the petition. The letter explained that ARC would

no longer participate as a petitioning party and the USW would replace ARC as a member of the

Coalition.

       25.     On October 14, 2021, ARC’s current counsel, the law firm of Faegre Drinker

Biddle & Reath LLP (“Faegre”), entered an appearance in the Predecessor Investigations.

       26.     Until its withdrawal, ARC supervised and materially contributed to the Attorney’s

preparation for the Predecessor Investigations.

       27.     ARC confided in the Attorney its legal strategy for prosecuting FRC-related trade

investigations, competitive decision-making processes, and extensive FRC-related BPI relevant to

establishing the scope of domestic like product, the domestic industry, and the conditions of

competition.

       28.     ARC disclosed this confidential information, including via telephone calls, in the

reasonable expectation and belief that the Attorney would preserve it within the confines of the

attorney-client relationship.

       29.     The Attorney’s emails to ARC described themselves as “Attorney Client

Communication – Privileged & Confidential,” or variants of that description.

       30.     Even after Faegre entered its appearance for ARC, the Attorney attempted to coach

ARC into taking positions he would later use against ARC in the Current Investigations. For

instance, in March 2022, the Attorney told ARC it would be “very helpful” if ARC took the

position, “to the extent that it is factually correct,” that “a significant part of the decision to move

production to Mexico was due to competition with low priced imports from China.”




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        31.    For Wiley’s legal services, ARC paid substantial attorneys’ fees and costs. On

information and belief, it shared these expenses equally with M&T.

        32.    The Department issued an APO in the Predecessor Investigations on October 12,

2021 (“Predecessor APO”).

        33.    On March 8, 2022, the Attorney entered his appearance on the Coalition’s behalf

to reflect that he had changed law firms. Also on March 8, 2022, Wiley amended its APO

application to remove the Attorney from Wiley’s APO.

        34.    xxxxxxxxxxx—a certified public accountant (“Accountant”)—accompanied the

Attorney in his move from Wiley to the Firm. As reflected on the petition’s cover page, the

Accountant was one of the Coalition’s representatives in the Predecessor Investigations.

        35.    The Commission scheduled the final phase of the Predecessor Investigations

following notification of preliminary determinations by the Department that imports of FRCs from

China were subsidized within the meaning of section 703(b) of the Tariff Act, 19 U.S.C. §

1671b(b), and sold at less than fair value within the meaning of 733(b) of the Tariff Act, 19 U.S.C.

§ 1673b(b). Notice was given of the scheduling of the final phase and of a public hearing to be

held.

        36.    The Commission conducted its hearing on May 12, 2022. Representatives for the

Coalition appeared at the hearing accompanied by counsel and submitted pre-hearing and post-

hearing briefs, and final comments. Three respondent entities—Strato, Inc., Wabtec Corp., and

TTX Company—participated in the final phase.

        37.    The Commission announced its unanimous negative vote on June 14, 2022, thus

terminating the Predecessor Investigations and denying the Coalition its requested relief.




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          38.   In early July 2022, the Commission issued its determinations and released its final

report.

          39.   Based on the record in the Predecessor Investigations’ final phase, the Commission

determined that an industry in the United States was not materially injured or threatened with

material injury by reason of FRC imports found by the Department to be sold in the United States

at less than fair value and to be subsidized by the Government of China.

          40.   One reason for the negative injury determination was that Chinese FRCs could not

be considered a cause of the alleged injury because of significant non-subject FRC imports from

Mexico.

          41.   Until July 2022, the Predecessor APO covered only the Attorney and two non-

attorneys, one of whom was the Accountant.

          42.   On July 15, 2022, however, nearly two months after the Department issued its final

determinations—effectively      concluding    the     Department’s   phase    of   the   Predecessor

Investigations—the Firm filed an amendment to the Predecessor APO adding seven attorney

applicants and two non-attorney applicants.

          43.   More than two months later, on September 23, 2022, the Firm certified its

destruction of Predecessor APO-covered materials.

                                    The Current Investigations

          44.   Just days after certifying destruction of the confidential record from the Predecessor

Investigations, on September 28, 2022, the Coalition filed a second petition commencing the

Current Investigations. The Current Investigations are a reprise of the Predecessor Investigations.

Both sets of investigations were and are quasi-adjudicative antidumping and countervailing duty

investigations before the Commission and the Department pursuant to the same body of statutory



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and regulatory provisions. The petitioning party in each investigation was the Coalition, of which

ARC is a former member. The FRCs covered by the investigations include E, F, and E/F couplers

and E and F knuckles. ARC’s BPI concerning its FRCs was used in the Predecessor Investigations;

much of that same BPI will be the focus of the Current Investigations. The petitions in both

commonly allege that FRCs are being or are likely to be sold at less than normal value within the

meaning of section 731 of the Tariff Act. In the Predecessor Investigations, the period of

investigation (“POI”) in the Department’s antidumping investigation of FRCs from China was

January 1, 2020, through June 30, 2020. In the Current Investigations, the POI in the Mexico

antidumping investigation is July 1, 2021, through June 30, 2020; the POI in the China

antidumping investigation is January 1, 2022, through June 30, 2022; and the POI in the China

countervailing duty investigation is January 1, 2021, through December 31, 2021.

       45.     On September 29, 2022, the Firm filed with the Department an APO application in

the Current Investigations (“Current APO”) covering the same set of Firm lawyers and staff

covered under the Predecessor APO.

       46.     Today, the Coalition’s two members are M&T and USW.

       47.     M&T is ARC’s industry competitor.

       48.     The USW represents unionized workers at ARC.

       49.     The Coalition contends that the USW became a member “because of the impact of

subject imports on USW workers,” including purported job losses “in the domestic FRC industry.”

       50.     In the Current Investigations, the Coalition hopes to “fix” the negative injury

determination in the Predecessor Investigations by adding imports from Mexico to the Current

Investigations’ scope.




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       51.     To do this, the Coalition paints a target on ARC. As asserted in the Coalition’s

petition, ARC “was formerly a major producer of FRCs in the United States, relocated

substantially all of its FRC production to Mexico and is now an importer of in-scope FRCs that

are produced at its Mexican location.” The Coalition further asserts that “[t]he AAR certified

manufacturing plant in Mexico that manufactures FRC products is ASF-K de Mexico, S. de R. L.

de C.V. Sahagun, which is owned by ASF-Keystone, a division of Amsted Industries’ Amsted Rail

Group.” This is the same scenario that existed during the Predecessor Investigations, yet the

Coalition, represented by the Attorney, did not include Mexican imports there.

       52.     In the new petition’s telling, the “shift to production in Mexico by [ARC] has

resulted in a significant market share decrease for domestic producers that chose not to abandon

their U.S. employees and to continue their FRC production in the United States.”

       53.     ARC “relocated its production to Mexico,” the Coalition posits in its petition, “to

offer prices in the U.S. market for its imported FRCs from Mexico that are competitive with

Chinese FRCs.”

       54.     Immediately upon learning of the Attorney’s participation in the Current

Investigations as the Coalition’s lead counsel, ARC moved to protect itself from the Attorney’s

betrayal. It directed Faegre to send a letter to the Attorney detailing his ethical violation and

requesting the Firm’s withdrawal from further representation of the Coalition in the Current

Investigations. Faegre sent a letter to that effect on October 6, 2022.

       55.     The Firm’s general counsel responded by letter on October 11, 2022. Ignoring that

ARC is the importer of record and would be harmed by the trade relief requested in the Current

Investigations, the Firm asserted that ARC actually “stands to benefit” if the Current Investigations

succeed. The Firm further asserted that Wiley negotiated a “robust advance waiver” in the June



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2021 engagement letter. The advance waiver applies only to Wiley itself and, further, excludes

“matters that are substantially related to our work for you.”

       56.     On October 12, 2022, ARC filed a letter with the Department asking it to: (i)

disqualify the Firm from further participation as counsel for the Coalition in the Current

Investigations; (ii) rescind the Firm’s authorization to receive BPI under the Current APO; and

(iii) terminate the Current Investigations under the Department’s sanctions authority and/or

dismiss the underlying antidumping and countervailing duty petitions as the Department cannot

reasonably determine the accuracy and adequacy of the evidence provided in the petition.

       57.     One basis for these requests was the Attorney’s violation of Rule 1.9(a) of the

American Bar Association’s (“ABA”) Model Rules of Professional Conduct and its analogue, Rule

1.9(a) of the District of Columbia Rules of Professional Conduct. Rule 1.9(a) provides: “A lawyer

who has formerly represented a client in a matter shall not thereafter represent another person in

the same or a substantially related matter in which that person’s interests are materially adverse to

the interests of the former client unless the former client gives informed consent, confirmed in

writing.”

       58.     The Department has the power to disqualify lawyers from practicing in specific

trade investigations provided that “good cause” is shown. The Department’s rules state in relevant

part: “Any attorney or representative practicing before the Department, or desiring so to practice,

may for good cause shown be suspended or barred from practicing before the Department, or have

imposed on him such lesser sanctions (e.g., public or private reprimand) as the Secretary deems

appropriate, but only after he has been accorded an opportunity to present his views in the matter.”

19 CFR § 351.313(a).




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       59.     The term “good cause” is not defined in this rule or in the rule’s enabling

legislation. However, the Department has applied the ABA Model Rules, including Rule 1.9(a),

to evaluate whether a lawyer or law firm should be disqualified from practicing in antidumping

and countervailing duty investigations. See, e.g., Memo. from Enforcement & Compliance,

Office, U.S. Department of Commerce, Silicon Metal from the Republic of Kazakhstan:

Representation of Tau-Ken Temir LLP by Squire Patton Boggs, C-834-811 (Oct. 6, 2020).

       60.     Another basis for the requests was the Firm’s potential violation of the Predecessor

APO. The Department’s APO-related regulations provide that “actions that constitute violations

of an administrative protective order” include “[u]se of business proprietary information submitted

in one segment of a proceeding . . . in another proceeding, except as authorized by the Tariff Act

of 1930 or by an administrative protective order.” 19 C.F.R. § 354.5(d)(7). APO-covered BPI may

sometimes be used for purposes of different segments of the same proceeding, but not for purposes

of an entirely different proceeding. See id. § 351.306(b) (“An authorized applicant may use

business proprietary information for purposes of the segment of a proceeding in which the

information was submitted. If business proprietary information that was submitted in a segment of

the proceeding is relevant to an issue in a different segment of the proceeding, an authorized

applicant may place such information on the record of the subsequent segment as authorized by

the APO.”).

       61.     On information and belief, the Firm abused the Predecessor APO by using ARC’s

and others’ BPI as a springboard for the Current Investigations. The Firm added nine attorneys

and non-attorneys to the Predecessor APO after the Commission had already issued its

determinations in the Predecessor Investigations.




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       62.     On information and belief, the Firm’s post-determinations use of the BPI was to

advance the Current Investigations, not the Predecessor Investigations. In their letter, therefore,

ARC and ASF-K urged the Department to rescind the Firm’s authorization to receive BPI in the

Current Investigations under the APO.

       63.     The Department has issued a questionnaire to ASF-K.             Section A of the

questionnaire response is currently due on November 21, 2022. Under modifications of the

Department’s regulations as a result of COVID-19, parties are no longer required to serve copies

of materials containing BPI by hand or mail delivery to parties on the APO service list, pursuant

to 19 C.F.R. § 351.303(f)(1). Instead, the Department now deems service to be effectuated upon

filing of the submission in ACCESS (the Department’s secure electronic filing system), and parties

on the APO list can electronically download the BPI filing upon the Department’s posting of the

document in ACCESS. Temporary Rule Modifying AD/CVD Service Requirements Due to

COVID-19, 85 Fed. Reg. 17,006 (Mar. 26, 2020) (codified at 19 C.F.R. § 351.303(f)(4)). That

means that within approximately one day after ASF-K submits the APO version of response to

Section A of the Department’s questionnaire, persons in the Firm that are on the Department’s list

of authorized APO recipients will be able to access ARC’s and ASF-K’s BPI.




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                 The Department’s Response To The Misconduct Allegations

          64.   On October 18, 2022, the Department informed Plaintiffs, via a letter from Ms.

Bagnal, that the Department would not make a determination as to whether the Firm should be

disqualified from further participation in the Current Investigations.

          65.   Specifically, ignoring its own prior administrative precedent, the Department stated

that its decision is premised on its position that 19 C.F.R. § 351.313 is not “intended to cover

ethical conflicts uniquely within the province of local Bar authorities.”

          66.   Moreover, the Department informed Plaintiffs in its letter that it will not (a) timely

rescind the Firm’s access to Plaintiffs’ BPI in the Current Investigations; or (b) timely terminate

the Current Investigations under the Department’s sanctions authority and/or dismiss the

underlying antidumping and countervailing duty petitions. Instead, the Department informed

Plaintiffs that “we have referred [Plaintiffs’ allegations regarding potential APO violations] to

the director of the APO unit.”

          67.   The Department provided no indication that an investigation to determine whether

an APO violation occurred has been initiated, let alone a timeline for when such an investigation

will be completed.

                                    VI.     Statement of Claims

                  Count One—Violation of the Administrative Procedure Act
                      (Arbitrary and Capricious Refusal to Disqualify)

          68.   The preceding paragraphs are incorporated herein by reference.

          69.   The APA authorizes the Court to hold unlawful and set aside agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. §

706(2).




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       70.     The Attorney betrayed ARC. He did so for the cynical, self-interested purpose of

trying to “undo” the Commission’s negative injury determination in the Predecessor Investigations

by including Mexico in the Current Investigations.

       71.     Plaintiffs requested that the Department disqualify the Attorney, the Accountant,

and the Firm from further participation as counsel in the Current Investigations due to ethical and

APO violations, but the Department denied that request on the basis that it has no authority to

adjudicate ethical violations and refused to even investigate the alleged APO violation.

       72.     The Department’s decision refusing to disqualify the Attorney, the Accountant, and

the Firm is final agency action. It marks the consummation of the Department’s decision-making

process regarding whether the Attorney, the Accountant, and the Firm may participate in the

Current Investigations, and it affects legal rights and obligations by giving the Firm the right to

participate in the Current Investigations. Plaintiffs have no other adequate remedy available except

for the Court to direct the disqualification of the Attorney, the Accountant, and the Firm in the

Current Investigations.

       73.     The Department’s decision refusing to disqualify the Attorney, the Accountant, and

the Firm from representing the Coalition in the Current Investigations is arbitrary, capricious, an

abuse of discretion, and contrary to law, including because the Department failed to reasonably

explain its decision.

       74.     “State ethics rules provide an important backdrop for the federal agency rules

regulating lawyers who appear and practice before the agencies.” George M. Cohen, The Laws of

Agency Lawyering, 84 Fordham L. Rev. 1963, 1972 (2016). Indeed, “lawyers who practice before

federal agencies must comply with state ethics rules, typically based on the ABA Model Rules and




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applicable to all lawyers, as well as with the specific rules applicable to lawyers engaged in agency

practice.” Id.

        75.      In accordance with its authority under 19 C.F.R. § 351.313, the Department has

applied the ABA Model Rules, including Rule 1.9, to evaluate whether a lawyer or law firm should

be disqualified from practicing.

        76.      The Attorney’s and the Accountant’s continued representation of the Coalition in

the Current Investigations is contrary to Rule 1.9(a) of the ABA Model Rules and its analogue,

Rule 1.9(a) of the District of Columbia Rules of Professional Conduct. In addition, even “before

the Rules of Professional Conduct were adopted, the common law recognized that a lawyer could

not undertake representation adverse to a former client in a matter substantially related to that in

which the lawyer previously had served the client.” Bolton v. Crowley, Hoge & Fein, P.C., 110

A.3d 575, 584 (D.C. 2015) (internal quotation marks omitted).

        77.      The Firm’s representation of the Coalition in the Current Investigations is contrary

to Rule 1.10(a) of the ABA Model Rules and its analogue, Rule 1.10(b)(1) of the District of

Columbia Rules of Professional Conduct: “[W]hen a lawyer becomes associated with a firm, the

firm may not knowingly represent a person in a matter which is the same as, or substantially related

to, a matter with respect to which the lawyer had previously represented a client whose interests

are materially adverse to that person and about whom the lawyer has in fact acquired information

protected by Rule 1.6 that is material to the matter.”

        78.      ARC faces immediate irreparable harm by virtue of the ongoing conflict of interest.

Where, as here, former clients “have already shared much inside information with” former counsel,

the former clients’ “fear of unfair advantage if their adversary … is at liberty to avail itself of

[former counsel’s] accumulated knowledge” means “it cannot be said with certainty that any taking



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of unfair advantage could be remedied ex post facto.” Makita, 17 C.I.T. at 250. The former clients,

therefore, “are confronted with the threat of irreparable harm.” Id.

          79.     The danger here is not limited to the Firm overtly using confidences in the Current

Investigations. There is also a risk that the Firm, while not explicitly using confidences, may use

such confidences to shape its prosecution of the Current Investigations, including guiding what

lines of attack to pursue and what lines to abandon.

          80.     ASF-K shares in this immediate irreparable harm to the extent the Firm’s

exploitation of ARC’s confidential information can also be used against ASF-K in the Current

Investigations.

          81.     The Department has asserted that it will not “address the ethical questions raised

by Amsted’s filings at this time.”

          82.     The Department’s decision not to act in the face of these serious allegations was

the antithesis of reasoned decision-making.

          83.     Accordingly, the Court should set aside the Department’s refusal to disqualify the

Attorney, the Accountant, and the Firm in the Current Investigations; order the Department to

disqualify the Attorney, the Accountant, and the Firm in the Current Investigations; and direct the

Department to dismiss, without prejudice to refiling, the petition filed by the Firm in the Current

Investigations.

                   Count Two—Violation of the Administrative Procedure Act
                (Arbitrary and Capricious Failure to Timely Rescind Access to BPI)

          84.     The preceding paragraphs are incorporated herein by reference.

          85.     The APA authorizes the Court to hold unlawful and set aside agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. §

706(2).

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       86.     Plaintiffs requested that the Department rescind the Firm’s authorization to access

Plaintiffs’ highly-sensitive BPI, which Plaintiffs will provide in response to Department

questionnaires. The Department, however, refused to timely rescind access to Plaintiffs’ BPI in

the Current Investigations.

       87.     Instead, the Department informed Plaintiffs that “we have referred [Plaintiffs’

allegations regarding potential APO violations] to the director of the APO unit.” The Department

provided no indication that an investigation to determine whether an APO violation occurred has

been initiated, let alone a timeline for when such an investigation will be completed.

       88.     The Department’s decision not to timely rescind (or even to timely investigate

whether it is appropriate to rescind) the Firm’s authorization to access to Plaintiffs’ BPI is final

agency action affects legal rights and obligations by giving the Firm the indefinite right to

Plaintiffs’ confidential information and imposing a continuing duty on Plaintiffs to share it with

the Firm. Plaintiffs have no other adequate remedy except for the Court to order the Department

to rescind the Firm’s access to Plaintiffs’ BPI in the Current Investigations.

       89.     The Department’s decision not to timely rescind or timely investigate the Firm’s

authorization to access Plaintiffs’ BPI is arbitrary, capricious, and an abuse of discretion. See

Hyundai Pipe, 11 C.I.T. at 240.

       90.     Accordingly, the Court should order the Department to rescind the Firm’s

authorization to access to Plaintiffs’ BPI.

               Count Three—Violation of the Administrative Procedure Act
   (Failure to Timely Rescind Access to BPI in Violation of Constitutional Due Process)

       91.     The preceding paragraphs are incorporated herein by reference.

       92.     The APA authorizes the Court to hold unlawful and set aside agency action that is

“contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2).

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        93.     The Fifth Amendment of the U.S. Constitution requires that no person be deprived

of their property without due process of law. See U.S. Const. amend. V, cl. 4; Mathews v. Eldridge,

424 U.S. 319, 332-36 (1976); Young v. Dep’t of Housing and Urban Dev., 706 F.3d 1372, 1376

(Fed. Cir. 2013).

        94.     Procedural due process requires that certain substantive rights, such as a property

interest, cannot be deprived unless constitutionally adequate procedures are followed.

        95.     To assert a procedural due process claim, a plaintiff needs to show that there has

been: (i) a deprivation of (ii) life, liberty, or property (iii) without due process of law. Id.

        96.     “A company’s confidential information … qualifies as property to which the

company has a right of exclusive use.” United States v. O’Hagan, 51 U.S. 642, 654 (1997); see

also Carpenter v. United States, 484 U.S. 19, 26 (1987) (“Confidential business information has

long been recognized as property.”); Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1003-04 (1984)

(company had property right in the health, safety, and environmental data it submitted to agency).

        97.     The Department’s failure to timely rescind (or timely investigate whether it is

appropriate to rescind) the Firm’s authorization to access Plaintiffs’ BPI amounts to a deprivation

of Plaintiffs’ property interest.

        98.     Due process requires that the party being deprived of their property have a

meaningful opportunity to be heard by the decision-maker, at a meaningful time, and in a

meaningful manner. Mathews, 424 U.S. at 332-33. Notice and an opportunity to be heard are the

essential requirements of due process. Young, 706 F.3d at 1376.

        99.     By refusing to timely rescind the Firm’s authorization to access Plaintiffs’ BPI in

the Current Investigations, the Department is adversely affecting Plaintiffs’ legal rights and

obligations by giving the Firm the indefinite right to Plaintiffs’ confidential information and



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imposing a continuing duty on Plaintiffs to share it with the Firm. Accordingly, the Department is

violating Plaintiffs’ procedural due process rights in violation of the Fifth Amendment.

       100.    Therefore, the Court should order the Department to rescind the Firm’s

authorization to access Plaintiffs’ BPI in the Current Investigations.

                                  Count Four—Mandamus
                            (Defendants Are Subject to Mandamus)

       101.    The preceding paragraphs are incorporated herein by reference.

       102.    The Court has authority over “any action in the nature of mandamus to compel an

officer or employee of the United States or any agency thereof to perform a duty owed to the

plaintiff.” 28 U.S.C. § 1361; see also 28 U.S.C. § 2643(c)(1) .

       103.    Courts issue writs of mandamus both to direct disqualification of counsel, see In re

Am. Airlines, Inc., 972 F.2d 605, 608-09 (5th Cir. 1992), and to reverse counsel’s disqualification,

see In re Shared Memory Graphics LLC, 659 F.3d 1336, 1339-40 (Fed. Cir. 2011).

       104.    The Department and Secretary are clearly and indisputably required to disqualify

the Attorney, the Accountant, and the Firm from representing the Coalition in the Current

Investigations due to their ethical and Predecessor APO violations, which irrevocably taint the

proceedings therein.

       105.    Without another jurisdictional basis to challenge the Department’s decision

regarding disqualification, Plaintiffs will have no other adequate means of seeking relief. Plaintiffs

will suffer irremediable damage if forced to wait to appeal. Any advantage the Coalition and its

counsel possess as a result of counsel’s representation of ARC could be put to use in the Current

Investigations. Information once used or exposed would not be forgotten and could be used against

ARC and other Plaintiffs. And the public perception of the profession could be damaged.




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       106.    Accordingly, the Court should issue an order compelling the Department and

Secretary to disqualify the Attorney, the Accountant, and the Firm from representing the Coalition

in the Current Investigations and ordering the Department and Secretary to dismiss, without

prejudice to refiling, the petition filed by the Firm in the Current Investigations.

                                     VII.    Prayer For Relief

       Wherefore, Plaintiffs pray that this Court will provide them relief from the Department’s

unlawful violation of the APA and Fifth Amendment of the U.S. Constitution by:

       1.      Declaring the Department’s refusal to disqualify the Attorney, the Accountant, and

the Firm from representing the Coalition in the Current Investigations arbitrary, capricious, an

abuse of discretion, and contrary to law;

       2.      Directing the Department to disqualify the Attorney, the Accountant, and the Firm

from representing the Coalition in the Current Investigations;

       3.      Preliminarily and permanently enjoining the Department, its agencies, officers,

employees, and agents, and others who are in active concert or participation with them, from

allowing the Attorney, the Accountant, and the Firm any access to the Current Investigations at

the Coalition’s behest;

       4.      Declaring the Department’s failure to timely rescind the Firm’s authorization to

access Plaintiffs’ BPI in the Current Investigations as arbitrary, capricious, an abuse of discretion,

and a denial of due process;

       5.      Preliminarily and permanently enjoining the Department, its agencies, officers,

employees, and agents, and others who are in active concert or participation with them, from

disclosing, or requiring Plaintiffs to disclose, to the Attorney, the Accountant, and the Firm in the

Current Investigations BPI submitted by Plaintiffs;



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       6.      Directing the Department to dismiss, without prejudice to refiling, the petition filed

in the Current Investigations; and

       7.      Providing Plaintiffs such further and additional relief as may be just.

Dated: October 31, 2022                                      Respectfully submitted,


                                                             /s/ Richard P. Ferrin
                                                             Douglas J. Heffner
                                                             Brian P. Perryman
                                                             Richard P. Ferrin
                                                             Carolyn Bethea Connolly
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                                                             Washington, DC 20005
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                                                             Counsel for Plaintiffs
                                                             Amsted Rail Company, Inc. and
                                                             ASF-K de Mexico S. de R.L. de C.V.




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                                             Verification

       I, James Allan, LCB, declare as follows:

       1.      I am the Director of Trade Compliance for Amsted Industries Incorporated, an

affiliate of Amsted Rail Company, Inc. (ARC). I have held this position since November 2019.

As the Director of Trade Compliance, I am responsible for, among other things, setting global

policy for all ARC trade compliance activities and managing communications to and from

government agencies. I am also a licensed U.S. Customs Broker.

       2.      I have personal knowledge of ARCs activities and affairs as set forth in the

foregoing Verified Complaint and, if called on to testify, I would competently testify as to those

factual matters stated herein.

       I verify under penalty of perjury that the foregoing is true and correct. Executed on October

31, 2022.




                                                             James Allan, LCB




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                                                Verification

          I, Douglas J. Heffner, declare as follows:

          1.     I am a partner at Faegre Drinker Biddle & Reath LLP and counsel for Amsted Rail

Company, Inc. and ASF-K de Mexico S. de R.L. de C.V.

          2.     I have personal knowledge of the docket and filings in the following antidumping

and countervailing duty investigations before the U.S. International Trade Commission and U.S.

Department of Commerce:

   •      Certain Freight Rail Coupler Systems and Components from China, DOC Inv. Nos. A-
          570-143, C-570-144; USITC Inv. Nos. 701-TA-670, 731-TA-1570; and

   •      Certain Freight Rail Couplers and Parts Thereof from China and Mexico, DOC Inv. Nos.
          A-570-145, A-201-857, C-570-146; USITC Inv. Nos. 701-TA-682, 731-TA-1593-1593

          3.     If called on to testify, I would competently testify as to those factual matters stated

herein.

          I verify under penalty of perjury that the foregoing is true and correct. Executed on October

31, 2022.




                                                                Douglas J. Heffner




                                                   26
